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                         UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF MICHIGAN
                              SOUTHERN DIVISION

   United States of America,

                     Plaintiff,
   v.                                            Case No. 2:11-cr-20551
                                                 Hon. Robert H. Cleland
   Krina Patel (25),

            Defendant.
   ____________________________/

                  ORDER GRANTING SUBSTITUTION OF ATTORNEYS

              Upon the reading and filing of the attached Substitution of

   Attorneys filed in this case;

              It is hereby ordered that Hertz Schram PC by Walter J.

   Piszczatowski and Michael J. Rex are substituted in as retained

   counsel in the place of James W. Burdick, as attorneys for Defendant

   Krina Patel in the above-entitled matter.



                                            S/Robert H. Cleland
                                           ROBERT H. CLELAND
                                           UNITED STATES DISTRICT
                                           JUDGE


   Dated: October 3, 2013




   {H0071026.1}
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   I hereby certify that a copy of the foregoing document was mailed to
   counsel of record and/or pro se parties on this date, October 3, 2013,
   by electronic and/or ordinary mail.


                                       S/Lisa Wagner
                                      Case Manager and Deputy Clerk
                                      (313) 234-5522




   {H0071026.1}
